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                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


 DAWN M. CLARK,
                                                     CIVIL COMPLAINT
              Plaintiff,

 v.                                                  CASE NO. 4:18-cv-00215

 ALLIANCEONE RECEIVABLES
 MANAGEMENT, INC.,                                   DEMAND FOR JURY TRIAL

              Defendant.


                                          COMPLAINT

         NOW comes DAWN M. CLARK (“Plaintiff”), by and through her attorneys, Sulaiman

Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of ALLIANCEONE

RECEIVABLES MANAGEMENT, INC. (“Defendant”), as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection

Act (“TCPA”) under 47 U.S.C. §227 et seq., and the Texas Debt Collection Act (“TDCA”) under

Tex. Fin. Code Ann. § 392 et seq. for Defendant’s unlawful conduct.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States. Supplemental jurisdiction exists for the state law claim

pursuant to 28 U.S.C. §1367.




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      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Eastern District of Texas and a substantial portion the events or omissions giving rise to the

claims occurred within the Eastern District of Texas.

                                               PARTIES

      4. Plaintiff is a 38 year-old natural person residing in Frisco, Texas, which is located within

the Eastern District of Texas.

      5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

      6. Defendant “provides debt collection services and contact center solutions.”1 Defendant

regularly collects upon consumers across the country, including those located in the state of Texas.

      7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

      8. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                                 FACTS SUPPORTING CAUSES OF ACTION

       9. In 2017, Plaintiff began receiving calls to her cellular phone, (407) XXX-4617, from

Defendant.

      10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in -4617. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

      11. Upon speaking with Defendant, Plaintiff is informed that it is attempting to collect upon

a debt owed to the North Texas Tollway Authority for alleged unpaid tolls (“subject debt”).




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    https://www.allianceoneinc.com/Welcome/

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    12. Plaintiff notified Defendant that she would make payment arrangements and to stop

contacting her.

    13. Plaintiff has reiterated her request that Defendant stop calling her during subsequent

conversations, but in spite of her demands, Defendant has continued to relentlessly call Plaintiff’s

cellular phone up until the date of the filing of this action.

    14. Defendant has mainly used the phone number (800) 685-5492 when placing calls to

Plaintiff’s cellular phone, but upon belief, it has used other numbers as well.

    15. Upon information and belief, the above-referenced phone number ending in -5492 is

regularly utilized by Defendant during its debt collection activity.

    16. Upon answering calls from Defendant, Plaintiff experiences a significant pause, lasting

several seconds in length, before she is connected with a live representative.

    17. During one conversation with Defendant, one of its representatives notified Plaintiff that

Defendant was contacting her using an autodialer.

    18. In sum, Plaintiff has received not less than 28 phone calls from Defendant since asking it

to stop calling.

    19. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

 resulting in expenses.

    20. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

    21. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

 limited to, invasion of privacy, aggravation that accompanies collection telephone calls,

 emotional distress, increased risk of personal injury resulting from the distraction caused by the

 never-ending calls, increased usage of her telephone services, loss of cellular phone capacity,




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diminished cellular phone functionality, decreased battery life on her cellular phone, and

diminished space for data storage on her cellular phone.

          COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   22. Plaintiff repeats and realleges paragraphs 1 through 21 as though fully set forth herein.

   23. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   24. Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone. The significant pause, lasting several seconds in length, which Plaintiff

experiences prior to being connected with one of Defendant’s representatives is instructive that an

ATDS is being utilized to generate the phone calls. Moreover, during one conversation with

Plaintiff, Defendant’s representative even acknowledged that Defendant employed an ATDS to

place calls to Plaintiff’s cellular phone. Additionally, the nature and frequency of Defendant’s

contacts points to the involvement of an ATDS.

   25. Defendant violated the TCPA by placing at least 28 phone calls to Plaintiff’s cellular

phone using an ATDS without her consent. Any consent that Plaintiff may have given to the

originator of the consumer debt, which Defendant will likely assert transferred down, was

specifically revoked by Plaintiff’s demands that it cease contacting her.

   26. The calls placed by Defendant to Plaintiff were regarding collection activity and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).




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   27. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, DAWN M. CLARK, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees; and

   d. Awarding any other relief as this Honorable Court deems just and appropriate.

               COUNT II – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   28. Plaintiff restates and realleges paragraphs 1 through 27 as though fully set forth herein.

   29. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

   30. Defendant is a “debt collector” and a “third party debt collector” as defined by Tex. Fin.

Code Ann. § 392.001(6) and (7).

   31. The subject consumer debt is a “consumer debt” as defined by Tex. Fin. Code Ann. §

392.001(2) as it is an obligation, or alleged obligation, arising from a transaction for personal,

family, or household purposes.

           a. Violations of TDCA § 392.302(4)

   32. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.302(4), states that “a debt collector may

not oppress, harass, or abuse a person by causing a telephone to ring repeatedly or continuously,




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or making repeated or continuous telephone calls, with the intent to harass a person at the called

number.”

   33. Defendant violated the TDCA when it continued to call Plaintiff’s cellular phone at least

28 times after being notified to stop. The repeated contacts were made with the hope that Plaintiff

would succumb to the harassing behavior and ultimately make a payment. The nature and volume

of phone calls would naturally cause an individual to feel oppressed.

   34. Upon being told to stop calling, Defendant had ample reasons to be aware that it should

not continue its harassing conduct.       Yet, Defendant consciously chose to continue placing

collection calls to Plaintiff’s cellular phone in an attempt to force her into submission.

   WHEREFORE, Plaintiff, DAWN M. CLARK, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1).

   c. Awarding Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. § 392.403(a)(2).

   d. Awarding Plaintiff punitive damages, in an amount to be determined at trial, for the
      underlying violations;

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to Tex. Fin. Code Ann. §
      392.403(b);

   f. Awarding any other relief as this Honorable Court deems just and appropriate.




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Dated: March 29, 2018                           Respectfully submitted,

s/ Nathan C. Volheim (Lead Attorney)            s/Taxiarchis Hatzidimitriadis
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